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at_ 9.70. o'clock M

DEC 0 2 2021 Certificate Number: 15725-NM-CC-035963717

United States Cantruptey Court INTNTRRNTAN NAIM A MIART A H  E

Albuquerque, New Mexico 5725-NM-CC-035963717

CERTIFICATE OF COUNSELING

I CERTIFY that on September 2, 2021, at 4:12 o'clock PM EDT, Joel Gaffney
received from 001 Debtorce, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the District of New Mexico, an individual [or
group] briefing that complied with the provisions of 11 U.S.C. 109(h) and #11.

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: September 2, 2021 By: /s/Landes Thomas
Name: Landes Thomas

Title: Counselor

* Individuals who wish to file a bankruptcy case undcr title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

 

 

 

 

 

 

 

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